Case 15-32919-KRH               Doc 5987      Filed 02/06/25 Entered 02/06/25 14:20:02                        Desc Main
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     Brittany B. Falabella (VSB No. 80131)                        Allison P. Klena (VSB No. 96400)
     Kollin G. Bender (VSB No. 98912)                             HIRSCHLER FLEISCHER, P.C.
     HIRSCHLER FLEISCHER, P.C.                                    1676 International Drive, Suite 1350
     The Edgeworth Building                                       Tysons, Virginia 22102
     2100 East Cary Street                                        Telephone:        703.584.8900
     Post Office Box 500                                          Facsimile:        703.584.8901
     Richmond, Virginia 23218-0500                                E-mail:           dswan@hirschlerlaw.com
     Telephone:        804.771.9500                                                 aklena@hirschlerlaw.com
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     E-mail:           rwestermann@hirschlerlaw.com
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                       kbender@hirschlerlaw.com

     Counsel for Richard Arrowsmith, Liquidating Trustee of
     the HDL Liquidating Trust



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division


                                                                   )        Chapter 11
 In re:                                                            )
                                                                   )        Case No. 15-32919-KRH
 HEALTH DIAGNOSTIC LABORATORY,                                     )
 INC., et al.,                                                     )        Jointly Administered
                                                                   )
                              Debtors.1                            )
                                                                   )

                     NOTICE OF HEARING ON LIQUIDATING TRUSTEE’S
                  MOTION FOR ENTRY OF ORDER COMPELLING FIDELITY
                 TO LIQUIDATE AND TURNOVER PROCEEDS OF QUEST 401(K)

         PLEASE TAKE NOTICE that on February 5, 2025, Richard Arrowsmith, in his capacity
 as the Liquidating Trustee of the HDL Liquidating Trust (the “Liquidating Trustee”), appointed
 pursuant to the Debtors’ confirmed Modified Second Amended Plan of Liquidation (the “Plan”)
 in these jointly administered bankruptcy cases (the “Bankruptcy Cases”), by his undersigned
 counsel, filed with the United States Bankruptcy Court for the Eastern District of Virginia,
 Richmond Division (the “Bankruptcy Court”) a Motion for Entry of Order Compelling Fidelity to
 Liquidate and Turnover Proceeds of Quest 401(k) (the “Motion”) 2 in which the Liquidating
 Trustee requests entry of an order compelling Fidelity to turnover the proceeds of the Quest
 Account.


 1
        The Debtors in these Bankruptcy Cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: Health Diagnostic Laboratory, Inc. (0119), Central Medical Laboratory, LLC (2728), and Integrated
        Health Leaders, LLC (2434) (the “Debtors”).
 2
        Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in the Motion.
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        PLEASE TAKE FURTHER NOTICE that a copy of the Motion may be obtained at no
 charge at www.americanlegal.com/HDL or for a fee at https://ecf.vaeb.uscourts.gov.

       PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should
 read the Motion carefully and discuss it with your attorney if you have one in these
 Bankruptcy Cases. (If you do not have an attorney, you may wish to consult one.)

         PLEASE TAKE FURTHER NOTICE on June 29, 2016, the Bankruptcy Court entered
 the Order Establishing Certain Post-Confirmation Notice, Case Management and Administrative
 Procedures [Docket No. 1261] (the “Post-Confirmation Case Management Order”), which
 approved the Notice, Case Management and Administrative Procedures attached as Exhibit 1 to
 the Post-Confirmation Case Management Order (the “Post-Confirmation Case Management
 Procedures”). On May 26, 2016, the Bankruptcy Court entered the Order Establishing Procedures
 for the Prosecution and Resolution of Avoidance Claims [Docket No. 1135] (the “Avoidance
 Procedures Order”). On May 26, 2017, the Bankruptcy Court entered the Order Approving
 Amended Procedures Governing Avoidance Action Adversary Proceedings [Docket No. 2740]
 (the “Amended Avoidance Procedures Order,” and together with the Avoidance Procedures Order
 and Post-Confirmation Case Management Order, the “Procedures Orders”). The Procedures
 Orders, among other things, proscribe the manner in which objections must be filed and served
 and set forth when certain hearings will be conducted. Copies of the Procedures Orders may be
 obtained at no charge at www.americanlegal.com/HDL or for a fee at https://ecf.vaeb.uscourts.gov.

         PLEASE TAKE FURTHER NOTICE THAT if you do not want the Bankruptcy Court
 to grant the relief sought in the Motion, or if you want the Bankruptcy Court to consider your
 views on the Motion, then on or before February 19, 2025 (the “Response Deadline”), you or
 your attorney must:

        1. File with the Bankruptcy Court, either electronically or at the address shown below, a
           written response pursuant to Rule 9013-1 of the Local Rules of the Unites States
           Bankruptcy Court for the Eastern District of Virginia and the Procedures Orders. If you
           mail your response to the Bankruptcy Court for filing, you must mail it early enough
           so the Court will receive it on or before the Response Deadline.

                                       Clerk of the Court
                                 United States Bankruptcy Court
                                      701 East Broad Street
                                   Richmond, Virginia 23219

        2. In accordance with the Procedures Orders, you must also serve a copy of your written
           response on the Core Parties, the 2002 List Parties, and any Affected Entity so that the
           response is received on or before the Response Deadline.



                                                 2
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        3. Attend an in person hearing on the Motion (the “Hearing”) on February 20, 2025, at
           2:00 p.m. (prevailing Eastern Time) before the Honorable Kevin R. Huennekens,
           United States Bankruptcy Judge, 701 East Broad Street, Courtroom 5000, Richmond,
           Virginia 23219.

        For the avoidance of doubt, electronic service in accordance with Rule 5005-2 of the Local
 Rules of the United States Bankruptcy Court for the Eastern District of Virginia and the
 Bankruptcy Court’s Electronic Case Filing Policy will be deemed valid and effective service under
 the Procedures Orders.

         PLEASE TAKE FURTHER NOTICE THAT you should consult the Procedures Orders
 before filing any written response.

        If you or your attorney do not take these steps, the Bankruptcy Court may deem any
 opposition waived, treat the Motion as conceded, and enter appropriate orders granting the
 requested relief without further notice or hearing.

 DATED: February 6, 2025                      /s/ Robert S. Westermann
                                             Robert S. Westermann (VSB No. 43294)
                                             Brittany B. Falabella (VSB No. 80131)
                                             Kollin G. Bender (VSB No. 98912)
                                             HIRSCHLER FLEISCHER, P.C.
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                                             David I. Swan (VSB No. 75632)
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                                             Counsel for Richard Arrowsmith, Liquidating
                                             Trustee of the HDL Liquidating Trust



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                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 6, 2025, I electronically filed the foregoing Notice with
 the Clerk of Court using the CM/ECF system, which then sent a notification of such filing to all
 counsel of record registered with the CM/ECF system. I also certify, that on February 6, 2025, a
 true and correct copy of the foregoing Notice was served via first class mail, postage pre-paid,
 upon the following:

 Fidelity Investments                                 Fidelity Workplace Services, LLC
 Attn: Direct Rollovers                               100 Crosby Parkway
 P.O. Box 770001                                      Mailzone KC1F
 Cincinnati, OH 45277-0037                            Covington, KY 41015

 Fidelity Workplace Services, LLC                     Fidelity Investments
 P.O. Box 770003                                      P.O. Box 770001
 Cincinnati, OH 45277                                 Cincinnati, OH 45277


                                                      Robert S. Westermann
                                                                  Counsel




                                                 4
